
The People of the State of New York, Respondent, 
againstJeffrey Acevedo-Garcia, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Laurie Peterson, J.), rendered November 22, 2013, convicting him, upon a plea of guilty, of endangering the welfare of a child, and imposing sentence.




Per Curiam.
Judgment of conviction (Laurie Peterson, J.), rendered November 22, 2013, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1979]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 05, 2016










